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 2   State Bar No. 11479
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     Ben_Nemec@fd.org
 6
     Attorney for Miguel Murillo-Ramos
 7
 8                               UNITED STATES DISTRICT COURT
 9                                     DISTRICT OF NEVADA
10
     UNITED STATES OF AMERICA,                           Case No. 2:20-cr-00114-JCM-NJK
11
                    Plaintiff,                           STIPULATION TO CONTINUE
12
                                                         REVOCATION HEARING
            v.
13                                                       (First Request)
     MIGUEL MURILLO-RAMOS,
14
                    Defendant.
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16
            IT IS HEREBY STIPULATED AND AGREED, by and between Jason M. Frierson,
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     United States Attorney, and Kimberly M. Frayn, Assistant United States Attorney, counsel for
18
     the United States of America, and Rene L. Valladares, Federal Public Defender, and Benjamin
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     F. J. Nemec, Assistant Federal Public Defender, counsel for Miguel Murillo-Ramos, that the
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     Revocation Hearing currently scheduled on June 17, 2024, be vacated and continued to a date
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     and time convenient to the Court, but no sooner than thirty (30) days.
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            This Stipulation is entered into for the following reasons:
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            1.      Defense counsel is out of jurisdiction on Monday.
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            2.      As Mr. Murillo-Ramos has a parallel new federal charge, the defense needs
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     additional time to determine if a global resolution between the two cases is possible.
26
            3.      The defendant is in custody and agrees with the need for the continuance.
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 1         4.     The parties agree to the continuance.
 2         This is the first request for a continuance of the revocation hearing.
 3         DATED this 13th day of June, 2024.
 4
 5   RENE L. VALLADARES                              JASON M. FRIERSON
     Federal Public Defender                         United States Attorney
 6
 7
     By /s/ Benjamin F. J. Nemec                     By /s/ Kimberly M. Frayn
 8   BENJAMIN F. J. NEMEC                            KIMBERLY M. FRAYN
     Assistant Federal Public Defender               Assistant United States Attorney
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         Case 2:20-cr-00114-JCM-NJK Document 59 Filed 06/14/24 Page 3 of 3




 1                               UNITED STATES DISTRICT COURT

 2                                     DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                              Case No. 2:20-cr-00114-JCM-NJK
 4
                    Plaintiff,                              ORDER
 5
            v.
 6
     MIGUEL MURILLO-RAMOS,
 7
                    Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the revocation hearing currently scheduled for

11   Monday, June 17, 2024 at 10:00 a.m., be vacated and continued to July 19, 2024, at 10:00

12   a.m.; or to a time and date convenient to the court.

13          DATED this
                  June ___ day
                         14,   of June, 2024.
                             2024.

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                                                   UNITED STATES DISTRICT JUDGE
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